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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

DAVID NDALAMBA and
STARLINE MEDIA, INC.,

                                           Case No. 6:20-cv-1210-GAP-GJK
                         Plaintiffs,

-vs-

ELISHA TRICE, JOMY STERLING,
and STAR STATUS GROUP,

                         Defendants.


JOMY STERLING, and STAR
STATUS GROUP,

                    Counterclaimants.

-vs-

DAVID NDALAMBA and
TYLER GNASS,

                    Counter Defendants.


                                       ORDER

       This cause came on for consideration without oral argument on the

following motion:

       MOTION: PLAINTIFFS’ MOTION FOR DEFAULT
               JUDGMENT AS TO LIABILITY AGAINST
               DEFENDANT ELISHA TRICE (Doc. No. 85)
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      FILED:       October 22, 2021



      THEREON it is ORDERED that the motion is DENIED.

      On August 31, 2020, David Ndalamba and Starline Media, Inc. filed an

amended complaint against Elisha Trice, Jomy Sterling, and Star Status Group,

asserting claims for copyright infringement, breach of a nondisclosure agreement,

tortious interference with a contractual relationship, and misappropriation of

trade secrets. Doc. No. 24. Ndalamba and his company Starline Media are lead

programmers for the video game Royale High on the Roblox platform. Id. at ¶ 2.

Ndalamba and Starline Media hired Trice to perform programming services

related to developing Royale High and to work on external systems. Id. at ¶ 3. On

June 19, 2019, Trice signed a nondisclosure agreement and “was provided access

to the confidential portions of the game.” Id. at ¶ 6.

      After Trice’s services were completed, Ndalamba and Starline Media allege

that he stole aspects of Royale High and disclosed the confidential information to

Sterling and Star Status Group. Id. at ¶¶ 7, 8. Trice, Sterling, and Star Status Group

allegedly developed a game named Crown Academy “that uses the identical

information in its development[,]”copyrighted material, and information

protected by the nondisclosure agreement. Id. at ¶¶ 8, 9. Ndalamba and Starline

Media allege Count I—Copyright Infringement against all Defendants; Count II—



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Breach of the Non-Disclosure Agreement against Trice; Count III—Tortious

Interference of a Contractual Relationship against Sterling and Star Status Group;

and Count IV—Misappropriation of Trade Secrets/Violation of Florida’s Uniform

Trade Secrets Act against all Defendants. Id. at 9-13. Trice did not file a response

to the amended complaint.

      On August 27, 2020, Sterling and Star Status Group filed an amended

counterclaim against Ndalamba and Tyler Gnass. Doc. No. 20. Sterling alleges that

in October 2018, she engaged Gnass to develop Crown Academy. Id. at ¶ 12.

Sterling “was forced to part ways with Gnass” because he “began to engage in

conduct that violated the basic terms of the working relationship he had

established with Ms. Sterling.” Id. at ¶ 13.

      Sterling alleges that Gnass engineered a scheme to make it appear that she

stole video game code and other information from the team behind Royale High.

Id. at ¶ 14. Sterling asserts that Ndalamba knew of the scheme and the two

“publicly disclosed to others in the Roblox community false, defamatory, and

disparaging statements about Ms. Sterling and her game, namely that she had

stolen code and other assets from Royale High.” Id. at ¶ 14-15. Sterling contends

Gnass’s and “Ndalamba’s actions have irreparably damaged Ms. Sterling’s

reputation as a Roblox developer and have sabotaged the impending release of her




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new game Crown Academy.” Id. at ¶ 24. Sterling alleges claims against Ndalamba

and Gnass for defamation and trade libel. Id. at 7-8.

      On September 18, 2020, Sterling and Star Status Group filed an answer to

the amended complaint. Doc. No. 30. Sterling and Star Status Group assert several

affirmative defenses regarding the alleged copyrights, including that Ndalamba

and Starline Media are not the owners of the copyrights, and that the copyrighted

materials lack the required registrations, lack originality, and are not subject to

copyright protection. Id. at 12, 13

      On August 2, 2021, Sterling moved for summary judgment, arguing that

Ndalamba and Starline Media do not own “any copyrights in and to Royale High’s

source code or related assets.” Doc. No. 59 at 2-3, 17-18. Sterling also asserts that

Trice was not subject to a nondisclosure agreement when Ndalamba provided

Trice with access to a particular source code and this particular source code

“consists of standard, publicly available, and widely used lines of code called

node.js code.” Id. at 7.

      On October 22, 2021, Ndalamba and Starline Media filed a motion for

default judgment against Trice (the “Motion”). Doc. No. 85. A default judgment

entered against Trice could result in an inconsistent judgment if Sterling and Star

Status Group prevail, and thus is inappropriate at this stage of the litigation. See

Nationwide Mut. Fire Ins. Co. v. Creation’s Own Corp., et al., No. 6:11-cv-1054-JA-


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DAB, 2011 WL 6752561, at *5 (M.D. Fla. Nov. 16, 2011) (citing Frow v. De La Vega,

82 U.S. 552 (1872)).

             [I]f the plaintiff prevails against the nondefaulting
             defendants, he is entitled to judgment against both the
             defaulting and nondefaulting defendants, but if the
             nondefaulting party prevails against the plaintiff, in most
             cases, that judgment will accrue to the benefit of the
             defaulting defendant, unless that defense is personal to that
             defendant.

Id. The purpose behind not entering a default judgment against a defendant when

a co-defendant has appeared is the prohibition against logically inconsistent

judgments. See Frow, 82 U.S. at 554. “This district has followed Frow and has been

sensitive to the risk of inconsistent judgments.” Creation’s Own Corp., 2011 WL

6752561, at *6. As Ndalamba and Starline Media assert common allegations and

claims against Trice, Sterling, and Star Status Group, and Sterling and Star Status

Group raise defenses that could also preclude Ndalamba and Starline Media from

receiving relief from Trice, a default judgment against Trice at this stage risks

offending the prohibition against inconsistent judgments.

      Accordingly, it is ORDERED that the Motion (Doc. No. 85) is DENIED.

      DONE and ORDERED in Orlando, Florida, on November 5, 2021.




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Copies furnished to:

Counsel of Record
Unrepresented Parties




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